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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE PHILIPS RECALLED CPAP,                  :
BI-LEVEL PAP, AND MECHANICAL                  :    Master Docket: Misc. No. 21-mc-1230-JFC
VENTILATOR PRODUCTS                           :
LITIGATION                                    :    MDL No. 3014
                                              :
This Document Relates to: All Actions         :
Asserting Economic Loss Claims                :
                                              :
                                              :


     [PROPOSED] ORDER PRELIMINARILY APPROVING PROPOSED CLASS
    SETTLEMENT AGREEMENT AND RELEASE OF ECONOMIC LOSS CLAIMS

       WHEREAS, on October 10, 2022, Plaintiffs filed a Consolidated Third Amended Class

Action Complaint for Economic Losses (“Economic Loss Complaint”) (ECF No. 785), on behalf

of themselves and all others similarly situated;

       WHEREAS, Defendants Philips RS North America LLC (“Philips RS”), Koninklijke

Philips N.V., Philips North America LLC, Philips Holding USA, Inc., and Philips RS North

America Holding Corporation (collectively, the “Philips Defendants”) have entered into a Class

Settlement Agreement and Release of Economic Loss Claims with the Settlement Class

Representatives, dated September 7, 2023, in full and final settlement of the Economic Loss

Claims against the Philips Defendants and the other Released Parties (the “Agreement” and the

“Settlement”), the terms of which are set forth in the Agreement and have the same meanings when

used in this Order;

       WHEREAS, the Parties engaged in extensive good faith, arm’s-length negotiations, over a

period of a year, to resolve the Economic Loss Claims, with the assistance and oversight of the

Settlement Mediator appointed by the Court, Hon. Diane M. Welsh (Ret.);
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       WHEREAS, on September 7, 2023, the Settlement Class Representatives filed a Motion

for Preliminary Approval of Proposed Class Action Settlement Agreement and to Direct Notice to

the Proposed Settlement Class pursuant to Rule 23(e) of the Federal Rules of Civil Procedure (the

“Motion”); and

       WHEREAS, on _______, 2023, the Court held a hearing on the Motion and heard argument

on whether to preliminarily approve the Settlement.

       NOW, THEREFORE, THIS ___ DAY OF ____, 2023, IT IS HEREBY ORDERED AS

FOLLOWS:

A.     The Settlement Is Preliminarily Approved

       1.      The Court has conducted a preliminary assessment of the fairness, reasonableness,

and adequacy of the Settlement pursuant to Rule 23(e)(1)(B) of the Federal Rules of Civil

Procedure. The Court hereby finds that the Settlement falls within the range of reasonableness

meriting possible final approval and has key indicia of fairness, including that (1) the Parties have

reached the Settlement after investigating the strengths and weaknesses of the Economic Loss

Claims and the defenses thereto, (2) the extensive settlement negotiations were arm’s-length and

consisted of multiple mediation sessions overseen by the Settlement Mediator, (3) there is no

evidence of collusion in reaching this Settlement, and (4) the proponents of the Settlement are

experienced in similar litigation.

       2.      The Court therefore preliminarily approves the Settlement on the terms set forth in

the Agreement, subject to further consideration at the Final Fairness Hearing. Settlement Class

Members shall have the right to object to, or be excluded from, the Settlement, as set forth in the

Agreement and this Order.




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       3.      Pursuant to Rule 23(e)(1)(B), the Court orders that Notice be provided to the

Settlement Class Members pursuant to the terms of the Agreement and as set forth herein. The

Notice shall inform Settlement Class Members that they will be bound by the Settlement and Final

Order and Judgment unless, on or before the end of the Opt-Out/Objection Period specified in the

Notice and this Order (“Opt-Out/Objection Deadline”), they follow the required procedures to

make a written request for exclusion as set forth in the Agreement and Notice, which procedures

are hereby approved.

       4.      Any objections by any Settlement Class Member to the Settlement (in whole or in

part) shall be heard and any papers submitted in support of said objections shall be considered by

the Court at the Final Fairness Hearing only if, on or before the Opt-Out/Objection Deadline, such

Settlement Class Member follows the required objection procedures set forth in the Agreement

and Notice, which procedures are hereby approved.

       5.      The Court preliminarily approves the plan of allocation of Settlement funds set

forth in the Agreement, subject to further consideration at the Final Fairness Hearing.

B.     Appointments of Settlement Administrator, Settlement Funds Escrow Agent, and
       Claims Appeals Special Master

       6.      The Court hereby appoints Angeion Group LLC as the Settlement Administrator.

It shall be responsible for the duties set forth in the Settlement Agreement assigned to the

Settlement Administrator, including, but not limited to, (a) the notice dissemination process set

forth in the Agreement; (b) calculation of payments to Settlement Class Members; (c) creation of

a Settlement website; (d) processing and reviewing Claim Forms; (e) collecting and forwarding to

Settlement Class Counsel and Counsel for the Philips Defendants any requests to be excluded from

the Settlement Class; (f) collecting and forwarding to Settlement Class Counsel and Counsel for

the Philips Defendants any objections to the Settlement or to requests for attorneys’ fees or Service

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Awards; and (g) any other duties as provided in any agreement entered into between Counsel and

the Settlement Administrator. The Settlement Administrator shall sign and be bound by the

Protective Order entered by this Court, as amended (ECF Nos. 104, 498, 765).

       7.      Pursuant to the Agreement, the Philips Defendants shall deposit, or cause to be

deposited, the Initial Payments for Class Notice and Settlement Administration into the Settlement

Funds within 14 days of execution of the Settlement Agreement. The Philips Defendants shall be

responsible for paying all reasonable costs of Settlement Administration, including the reasonable

fees and costs of the Settlement Administrator, Settlement Funds Escrow Agent, Settlement

Mediator, and Claims Appeals Special Master, as set forth in the Settlement Agreement.

       8.      The Court approves Huntington Bank as the Settlement Funds Escrow Agent

pursuant to the Settlement Agreement.

       9.      The Court hereby appoints Hon. Thomas J. Rueter (Ret.) as the Claims Appeals

Special Master and authorizes him to perform the duties assigned to the Claims Appeals Special

Master specified in the Settlement Agreement.

C.     The Settlement Notice and Notice Plan Are Approved

       10.     The Court approves the forms of Notice, substance, and requirements attached as

Exhibit 3 to the Settlement Agreement (the “Settlement Notice”).

       11.     The Court finds that the method of giving notice to the Settlement Class (“Notice

Plan”), attached to the Settlement Agreement as Exhibit 2, and the forms and content of notice,

attached to the Settlement Agreement as Exhibit 3, as described in the Settlement Agreement,

(a) constitute the best notice practicable under the circumstances, (b) are reasonably calculated,

under the circumstances, to apprise the Settlement Class Members of the pendency of the Action,

the terms and benefits of the proposed Settlement, including automatic payments under certain



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circumstances, how to file a claim and the deadline for filing a claim, and their rights under the

proposed Settlement, including, but not limited to, their rights to object to or exclude themselves

from the proposed Settlement, as well as of the scope of the release of the Philips Defendants and

other Released Parties and the binding effect of a Final Judgment, (c) are reasonable and constitute

due, adequate, and sufficient notice to all Settlement Class Members and any other persons entitled

to receive notice, (d) meet all applicable requirements of law, including, but not limited to, 28

U.S.C. § 1715, Rule 23(c), the Due Process Clause(s) of the United States Constitution, and any

other applicable laws, and (e) fairly and adequately inform Settlement Class Members that if they

do not comply with the specified procedures and the deadline for objections, they will lose any

opportunity to have any objection considered at the Final Fairness Hearing or to otherwise contest

approval of the Settlement or appeal from any order or judgment entered by the Court in connection

with the Settlement.

       12.     The Parties will attempt to reach agreement on the amount of attorneys’ fees and

costs that Settlement Class Counsel will seek to be awarded by this Court and which the Philips

Defendants will not oppose. If the Parties reach an agreement, Settlement Class Counsel will file

an unopposed motion with the Court seeking an award in this amount to be considered as part of

the Final Fairness Hearing. If the Parties do not reach agreement, Settlement Class Counsel will

file their motion seeking an award of attorneys’ fees and costs, and the Philips Defendants will

submit their opposition. In that event, the litigation of the fee and cost issues will be subject to the

Parties’ agreement that: (1) the attorneys’ fees and costs will be paid by, or on behalf of, the

Philips Defendants in addition to the compensation provided to Settlement Class Members under

the Settlement Agreement; (2) any award of attorneys’ fees or costs shall not diminish the recovery

of Settlement Class Members under the Settlement; (3) while fees will be based on the percentage



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of recovery methodology, with a lodestar cross-check, the Parties reserve all arguments as to how

that recovery should be calculated, what the percentage should be, and the extent to which

Settlement Class Counsel’s prosecution of the Economic Loss Claims caused some or all of the

recovery; (4) the Court will issue an Order setting forth the amount of attorneys’ fees and costs to

be paid by the Philips Defendants; and (5) the Parties shall have the right to appeal the Court’s

determination as to the amount of attorneys’ fees and costs.

       13.     The Parties have agreed that the Philips Defendants will pay Service Awards of

$5,000 to each of the five Settlement Class Representatives, subject to approval of this Court after

the Final Fairness Hearing. The Settlement Notice shall apprise Settlement Class Members of

these requested Service Awards.

       14.     Within 60 days after entry of this Order, the Settlement Notice will be disseminated

to Settlement Class Members pursuant to the terms of the Settlement Agreement.

D.     The Settlement Class

       15.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court conditionally

certifies, for settlement purposes only, the following Settlement Class:

               Settlement Class or Settlement Class Members shall include Plaintiffs and all
               other individuals or entities in the United States, including its Territories (American
               Samoa, Guam, the Northern Mariana Islands, Puerto Rico, and the U.S. Virgin
               Islands), and the District of Columbia, including individuals who are United States
               citizens, residents, United States military, diplomatic personnel and employees
               living or stationed overseas, who or which, prior to the announcement of the
               Recalls, either (a) purchased, leased, rented, or paid for (in whole or part), or were
               prescribed a Recalled Device (“Users”), or (b) reimbursed (in whole or part) a
               User’s payment to purchase, lease, rent, or otherwise pay for a Recalled Device,
               including insurers, self-funded employers, and other third-party payers (“Payers”).
               Individuals or entities whose payment obligations with respect to a particular
               Recalled Device preceded the announcement of the relevant Recall are part of the
               Settlement Class even if certain of their payment obligations post-dated the Recall
               (e.g., certain renters and lessees).



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               EXCLUDED from the Settlement Class are: (a) Defendants and their officers,
               directors, and employees; (b) the MDL Court, Settlement Mediator, Claims Appeals
               Special Master, and Special Masters assigned to the MDL; (c) individuals who have
               already released Released Claims against one or more of the Defendants pursuant
               to individual settlements or other resolutions; (d) Durable Medical Equipment
               providers; (e) the federal government and any federal government payers, including
               the United States Department of Health and Human Services Centers for Medicare
               & Medicaid Services, the Department of Defense, and the U.S. Department of
               Veterans Affairs; and (f) Settlement Class Counsel.

       16.     The Court finds that, for settlement purposes only, the Settlement Class meets all

prerequisites for class certification under Rules 23(a) and 23(b)(3) of the Federal Rules of Civil

Procedure, including that: (a) the Settlement Class is so numerous that joinder of all members is

impracticable; (b) there are questions of law and fact common to the Settlement Class; (c) the

Settlement Class Representatives’ claims are typical of the claims of the Settlement Class

Members they seek to represent for purposes of the Settlement; (d) Settlement Class

Representatives and their counsel are capable of fairly and adequately protecting the interests of

the Settlement Class; (e) common questions of law and fact predominate over questions affecting

only individual Settlement Class Members; (f) certification of the Settlement Class is superior to

other available methods for the fair and efficient resolution of the Economic Loss Claims of

Settlement Class Members; and (g) the Settlement Class is ascertainable.

       17.     For settlement purposes only, the Court appoints Elizabeth Heilman; Ivy Creek of

Tallapoosa LLC d/b/a/ Lake Martin Community Hospital; Peter Barrett; Julie Barrett; and

ASEA/AFSCME Local 52 Health Benefits Trust as the five Settlement Class Representatives.

       18.     The Court appoints the following as Settlement Class Counsel:

               a. Christopher A. Seeger, Seeger Weiss, 55 Challenger Road, 6th Floor, Ridgefield

                  Park, NJ 07660;




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              b. Sandra L. Duggan, Levin Sedran & Berman, 510 Walnut Street, Suite 500,

                  Philadelphia, PA 19106;

              c. Steven A. Schwartz, Chimicles Schwartz Kriner & Donaldson-Smith LLP, 361

                  West Lancaster Avenue, Haverford, PA 19041;

              d. Kelly K. Iverson, Lynch Carpenter, LLP, 1133 Penn Avenue, 5th Floor,

                  Pittsburgh, PA 15222;

              e. Roberta D. Liebenberg, Fine, Kaplan and Black, R.P.C., One South Broad

                  Street, 23rd Floor, Philadelphia, PA 19107;

              f. Lisa Ann Gorshe, Johnson Becker PLLC, 444 Cedar Street, Suite 1800, Saint

                  Paul, MN 55101; and

              g. Arthur H. Stroyd, Jr., Del Sole Cavanaugh Stroyd LLC, 3 PPG Place, Suite 600,

                  Pittsburgh, PA 15222.

        19.   The Court hereby approves the establishment of the Settlement Funds. The

Settlement Funds shall be governed by Section 468B-1 through 468B-5 of the Treasury

Regulations and maintained as a “qualified settlement fund.” The Parties agree to work in good

faith to maintain such status. The Court shall retain continuing jurisdiction over the Settlement

Funds, pursuant to Section 468B-1I(1) of the Treasury Regulations.

E.     Schedule for Motion for Final Approval and Final Fairness Hearing

       20.    Settlement Class Counsel shall file their motion for attorneys’ fees, reimbursement

of costs and expenses incurred in connection with prosecuting the Economic Loss Claims, and for

Service Awards of no more than $5,000 for each of the five Settlement Class Representatives, at

least 30 days prior to the Opt-Out/Objection Deadline. The Settlement Administrator shall publish

the motion and supporting materials on the Settlement website.



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       21.     The deadline for Settlement Class Members to submit claims is 120 days after the

Final Fairness Hearing.

       22.     The deadline for Settlement Class Members to opt out of the Settlement, or object

to the Settlement, the proposed plan for allocating Settlement funds, the proposed Service Awards,

or the request for an award of attorneys’ fees and reimbursement of costs and expenses shall be

120 days after entry of this Order. Opt-out requests and objections must be made in writing and

must be made in accordance with the requirements set forth in the Settlement Agreement and

Notices, and must be postmarked no later than Opt-Out/Objection Deadline.

       23.     Settlement Class Counsel shall file a list of all timely and valid opt-outs as an

attachment to their motion for final approval of the Settlement.

       24.     No later than 21 days before the Final Fairness Hearing, Settlement Class Counsel

shall file with the Court the objections, if any, received by the Settlement Administrator.

       25.     At least 7 days prior to the Final Fairness Hearing, Settlement Class Counsel and/or

Counsel for the Philips Defendants shall file any response to the objections with the Court.

       26.     At least 21 days prior to the Final Fairness Hearing, Settlement Class Counsel shall

file a Motion for Final Approval of the Settlement and to enter the Final Order and Judgment. The

Settlement Administrator shall publish the motion and supporting materials on the Settlement

website.

       27.     At least 21 days prior to the Final Fairness Hearing, Settlement Class Counsel shall

file with the Court proof that Notice was provided in accordance with the plan of Notice set forth

in the Agreement, the terms of this Order, and any other Order regarding Notice that the Court

shall have issued.




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       28.     At least 21 days prior to the Final Fairness Hearing, the Philips Defendants shall

file with the Court proof of their compliance with the provisions of the Class Action Fairness Act,

28 U.S.C. § 1715(b).

       29.     If the last day of any period mentioned hereto falls on a weekend or legal holiday,

the period shall include the next business day.

       30.     The Court will hold a hearing on _____________, 2024 at ____ a.m./p.m. at the

United States District Court for the Western District of Pennsylvania, 700 Grant Street, Pittsburgh,

PA 15219, in Courtroom 5A (the “Final Fairness Hearing”) for the following purposes:

               a. To finally determine whether the proposed Settlement is a fair, reasonable, and

                   adequate settlement as to the Settlement Class Members within the meaning of

                   Rule 23I(2) of the Federal Rules of Civil Procedure;

               b. To determine whether a Final Judgment should be entered dismissing the

                   Economic Loss Claims of the Settlement Class against the Defendants with

                   prejudice, as required by the Settlement Agreement;

               c. To consider the proposed plan of allocation of Settlement funds;

               d. To consider Settlement Class Counsel’s Motion for Award of Attorneys’ Fees

                   and Litigation Expenses;

               e. To consider the Petition for Service Awards to the Settlement Class

                   Representatives;

               f. To consider timely, written objections that conform to the requirements set forth

                   in the Settlement Agreement;

               g. To enter the injunctions contemplated by Sections 13.1.7 and 13.1.8 of the

                   Settlement Agreement; and



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               h. To consider such other matters as the Court may deem appropriate.

       31.     The Final Fairness Hearing may be continued without further notice to Settlement

Class Members, other than an update posted on the MDL 3014 Court docket and Settlement

website.

   F. Miscellaneous

       32.     This Preliminary Approval Order shall become null and void and shall not prejudice

the rights of the Parties, all of whom shall be restored to their respective positions existing

immediately before this Court entered this Order, if the Settlement is not finally approved by the

Court, or does not become final and effective for any reason. In such event, the Settlement

Agreement shall become null and void and be of no further force and effect, and neither the

Settlement Agreement nor the Court’s orders relating to the Settlement, including this Preliminary

Approval Order, shall be used or referred to for any purpose. The conditional certification of the

Settlement Class provided for herein for settlement purposes only will be vacated, and the

Economic Loss Claims shall proceed as though the Settlement Class had never been conditionally

certified, without prejudice to any party’s position on the issues of class certification, personal

jurisdiction or any other issue. In such event, the Philips Defendants retain all rights to assert that

the Economic Loss Claims may not be certified as a class action.

       33.     Pending the Final Fairness Hearing, the Court hereby stays the continued pursuit or

prosecution of all Released Claims, in this Court or in any other court, tribunal or proceeding, other

than those proceedings necessary to carry out or enforce the terms and conditions of the Settlement.

Pursuant to 28 U.S.C. §§ 1651(a) and 2283, the Court finds that issuance of this preliminary

injunction is necessary and appropriate in aid of the Court’s continuing jurisdiction and authority.




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Such injunction shall remain in force until the Final Fairness Hearing or until such time as the

Parties notify the Court that the Settlement has been terminated.

       34.     This Court shall maintain continuing jurisdiction over these settlement proceedings

to assure the effectuation thereof for the benefit of the Settlement Class. For purposes only of this

Settlement, the Philips Defendants have submitted to the jurisdiction and venue of this Court.

       35.     Settlement Class Counsel and Counsel for the Philips Defendants are hereby

authorized to use all reasonable procedures in connection with approval and administration of the

Settlement that are not materially inconsistent with this Preliminary Approval Order or the

Settlement Agreement, including making, without further approval of the Court, minor changes to

the Settlement Agreement, to the form or content of the Settlement Notice, or to the form or content

of any other exhibits attached to the Settlement Agreement, that the Parties jointly agree are

reasonable or necessary, and which do not limit the rights of Settlement Class Members under the

Settlement Agreement.



 IT IS SO ORDERED.                                 BY THE COURT:




                                                   The Honorable Joy Flowers Conti
                                                   Senior United States District Judge




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